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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
                                                            Civil Action No 4:24-cv-01607
Tehum Care Services, Inc. et al                  §

         Debtor                                  §
                                                 §         Bankruptcy Case No. 23bk90086
Tehum Care Services, Inc. et al                  §
         Appellant                               §


                                Notice of Filing of an Appeal
1. A notice of appeal to the district court was filed before the bankruptcy court on April 24,
   2024

2. This appeal has been assigned to United States District Judge Kenneth M Hoyt.

3. The appeal has been docketed as 4:24-cv-01607

4. Motions affecting this appeal, or the judgment or order from which this appeal is taken must
   be filed in accordance with Fed. R. Bankr. P. 8006, 8007, 8008 and 8009(e).
5. Within 14 days after the notice of appeal was filed, the appellant must file a designation of
   the record. See Fed. R. Bankr. P. 8009. Within 14 days after being served with the appellant’s
   designation, appellees may file additional designations.
6. Designations of the record must be filed with the bankruptcy court. Do not file copies of
   designated items that are already on file with the bankruptcy court. Parties must
   electronically file copies of admitted trial exhibits they designate for inclusion in the record.


Date April 30, 2024
                                                      Nathan Ochsner, Clerk of Court
                                                      H. Lerma
                                                      Deputy Clerk
